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                                                   May 23, 2023




 Via E-mail Only

 Honorable Gerald J. Pappert
 Chambers_of_Judge_Pappert@paed.uscourts.gov
 U.S. District Court for the Eastern District of Pennsylvania
 James A. Byrne United States Courthouse
 11614 U.S. Courthouse
 601 Market Street
 Philadelphia, PA 19106


                 RE: Byfield, et al. v. Healthcare Revenue Recovery Group, LLC
                     Zhyriada v. Healthcare Revenue Recovery Group, LLC
                     U.S. District Court for the Eastern District of Pennsylvania
                     Docket Nos. 18-cv-243, 19-cv-5703

Dear Judge Pappert:

        As Your Honor may be aware, this office represents Hermine Byfield and Iryna Zhyriada
(collectively, “Plaintiffs”) in the above-referenced matters that were originally litigated as
“related” before the Hon. Petrese B. Tucker. I write on behalf of all parties and counsel regarding
the oral argument scheduled in the Byfield matter for May 25, 2023. See ECF Byfield Doc. 77.

        Byfield and Zhyriada involve similar allegations that a “dunning” letter from Healthcare
Revenue Recovery Group, LLC (“Defendant”) violates the Fair Debt Collection Practices Act, 15
U.S.C. § 1692 et seq. In both cases, Defendant sought summary judgment with analogous
arguments (albeit through different counsel). See ECF Byfield Doc. 57; ECF Zhyriada Doc. 16.
For this reason, Your Honor’s earlier disposition of Defendant’s request for summary judgment in
the Zhyriada matter (after oral argument on April 26, 2023) affects both cases. In Zhyriada, the
Court referred the parties to Magistrate Judge Elizabeth Hey for a settlement conference. See ECF
Zhyriada Doc. 35. However, no such referral exists for Byfield.

       The parties strongly believe that a joint settlement conference for Byfield and Zhyriada,
before the same arbiter, would be substantially more effective than piecemeal negotiation over




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only one of the two cases. Accordingly, we ask that Your Honor also refer Byfield for a settlement
conference with Judge Hey. Additionally, to avoid unnecessary expenditure of time and resources,
the parties ask that oral argument in Byfield be postponed until we had an opportunity to appear
before Judge Hey. The parties are well aware of the deadlines set by Your Honor in Zhyriada and
will move expeditiously to conduct a settlement conference to avoid any rescheduling.

         If Your Honor has any questions, please do not hesitate to contact me.

                                                  Sincerely,




                                                  Arkady “Eric” Rayz, Esquire




 ER/tp

cc:      All Counsel of Record
         Via E-mail Only
